Filed 12/20/23                                                                   Case 23-90601                                                           Doc 9
     FORM L127
                                                                                                                                          23−90601 − E − 7
     Notice of Requirement to File a Certification of Completion of Course in Personal Financial Management (Official Form 23) (v.2.21)

                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                                               1200 I Street, Suite 200
                                                Modesto, CA 95354
                                                  (209) 521−5160
                                               M−F 9:00 AM − 4:00 PM
                                               www.caeb.uscourts.gov
                                              Mailing Address:
                                  Robert T. Matsui United States Courthouse
                                          501 I Street, Suite 3−200
                                            Sacramento, CA 95814
                         NOTICE OF REQUIREMENT TO FILE CERTIFICATION ABOUT A
                           FINANCIAL MANAGEMENT COURSE (Official Form 423)

     Case Number:                23−90601 − E − 7
     Debtor Name(s) and Address(es):


         Nenos Barkho
         4301 Songbird Ct
         Modesto, CA 95355

         11 U.S.C. §727 requires that in order to be eligible for discharge, each individual debtor in a chapter
         7 case must complete an instructional course in personal financial management taken after the
         petition is filed. This course is in addition to the credit counseling that is required prior to the case
         being filed with the bankruptcy court. A list of approved training agencies is available online at
         http://www.usdoj.gov/ust/eo/bapcpa/ccde/index.htm.

         NOTICE IS HEREBY GIVEN THAT you must submit your Financial Management Course Certificate
         or Official Form 423 (Certification About a Financial Management Course) with the Clerk by mail to
         the Sacramento Division Office located at Robert T. Matsui United States Courthouse, 501 I
         Street, Suite 3−200, Sacramento, CA 95814, or in person at the divisional office indicated above.
         You must file this document with the court no later than 60 days after the first date set for the
         meeting of creditors under Bankruptcy Code §341(a) in a chapter 7 case. If you do not file this
         document with the court within 60 days after the first date set for the meeting of creditors, the court
         will close your case without discharge when it is otherwise ready to close.

         Once your case has been closed, you will not be able to receive a discharge without filing a motion
         to reopen the case and paying a reopening fee, which is currently $260.00 for a chapter 7 case.

         Official Form 423 is printed on the reverse of this notice for your convenience. It is also
         available under "Official Forms" on the Forms and Publications page of the court's web site
         (www.caeb.uscourts.gov).

     Dated: 12/20/23                                                                      Wayne Blackwelder
                                                                                          Clerk of Court
Filed 12/20/23                                                           Case 23-90601                                                                                 Doc 9

    Fill in this information to identify the case:
     Debtor 1            Nenos Barkho

                         First Name                  Middle Name                   Last Name


     Debtor 2
     (Spouse, if filing) First Name                  Middle Name                   Last Name

     United States Bankruptcy Court      Eastern District of California
     Case number:        23−90601



    Official Form 423                                                                                                                                            12/15

    Certification About a Financial Management Course
    If you are an individual, you must take an approved course about personal financial management if:

     • you filed for bankruptcy under chapter 7 or 13, or
     • you filed for bankruptcy under chapter 11 and § 1141 (d)(3) applies.
    In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

    After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If the provider
    does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each file this form with the
    certificate number before your debts will be discharged.

     • IfBankruptcy
          you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
                     Code.
     • Ifmotion
          you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that you plan requires or before you file a
                for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
    In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a motion with
    the court and obtain a court order.

       Part 1:       Tell the Court About the Required Course


    You must check one:

          I completed an approved course in personal financial management:

                         Date I took the course                                  _________________
                                                                                  MM / DD / YYYY

                         Name of approved provider                               ______________________________________________________

                         Certificate number                                      ______________________________________________________

          I am not required to complete a course in personal financial management because the court has granted my motion for a waiver of the
          requirement based on (check one):

                 Incapacity.                  I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                              about finances.

                 Disability.                  My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                              phone, or through the internet, even after I reasonably tried to do so.

                 Active duty.                 I am currently on active military duty in a military combat zone.

                 Residence.                   I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                              instructional courses cannot adequately meet my needs.


       Part 2:       Sign Here



           I certify that the information I have provided is true and correct.


          __________________________________________                   __________________________________________                   Date ______________________
           Signature of debtor named on certificate                    Printed name of debtor                                             MM / DD / YYYY



     Official Form 423                                    Certification About a Financial Management Course
